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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Town & Country Partners LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  9501 W. 144th Place
                                  Suite 304
                                  Orland Park, IL 60462
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Cook                                                            Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  6021-55 Canden Ave Portage, IN 46368
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Town & Country Partners LLC                                                                  Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Town & Country Partners LLC                                                                     Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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Debtor    Town & Country Partners LLC                                                              Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 13, 2021
                                                  MM / DD / YYYY


                             X   /s/ Antonio Barnes                                                       Antonio Barnes
                                 Signature of authorized representative of debtor                         Printed name

                                         Mgr. Warburg Equities who is Manger of
                                 Title   Town & Country Partne




18. Signature of attorney    X   /s/ J. Kevin Benjamin ARDC #:                                             Date July 13, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 J. Kevin Benjamin ARDC #: 6202321
                                 Printed name

                                 Benjamin Legal Services PLC
                                 Firm name

                                 1016 W. Jackson Blvd.
                                 Chicago, IL 60607-2914
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (312) 853-3100                Email address      attorneys@benjaminlaw.com

                                 ARDC #: 6202321 IL
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name Town & Country Partners LLC
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS                                                                                Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Dynasty Holdings,                                                                                                                                                      $400,000.00
 LLC
 5403 S. LaGrange
 Road
 Countryside, IL
 60525
 Indian American                                                                                                                                                          $75,000.00
 Water
 650 Madison Street
 Gary, IN 46402
 Jordan and Morgan                                                                                                                                                      $100,000.00
 Estates
 c/o Carlson Dash
 216 S. Jefferson
 Street, Suite 504
 Chicago, IL 60661
 Nipsco                                                                                                                                                                 $100,000.00
 1261 Dakota Street
 Gary, IN 46403
 Pinnacle Asset                                                                                                                                                         $750,000.00
 Management, LLC
 9501 W. 144th Place
 Suite 304
 Orland Park, IL
 60462
 Portgage Utility                                                                                                                                                         $30,000.00
 Services
 6070 Central Avenue
 Portage, IN 46368
 Sage Workinger                                                                                                                                                         $175,000.00
 c/o Carlson Dash
 216 S. Jefferson
 Street, Suite 504
 Chicago, IL 60661
 Toorak Capital                                                                                                  $7,200,000.00                         $0.00          $7,200,000.00
 Partners
 15 Maple Street
 Summit, NJ 07901

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Town & Country Partners LLC                                                                       Case number (if known)
           Name




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                    page 2

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                                                               United States Bankruptcy Court
                                                                      Northern District of Illinois
 In re      Town & Country Partners LLC                                                                               Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder

 -NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the Mgr. Warburg Equities who is Manger of Town & Country Partne of the corporation named as the debtor in this
case, declare under penalty of perjury that I have read the foregoing List of Equity Security Holders and that it is true and
correct to the best of my information and belief.



 Date July 13, 2021                                                          Signature /s/ Antonio Barnes
                                                                                            Antonio Barnes

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re      Town & Country Partners LLC                                                                 Case No.
                                                                                  Debtor(s)             Chapter    11




                                                     VERIFICATION OF CREDITOR MATRIX

                                                                                        Number of Creditors:                                  18




            The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
            (our) knowledge.




 Date:       July 13, 2021                                             /s/ Antonio Barnes
                                                                       Antonio Barnes/Mgr. Warburg Equities who is Manger of Town &
                                                                       Country Partne
                                                                       Signer/Title




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                      Austgen Kuiper Jasaitis P.C.
                      130 North Main Street
                      Crown Point, IN 46307


                      Cohen Dovitz Makowka
                      10729 W. 159th St.
                      Orland Park, IL 60467


                      Dynasty Holdings, LLC
                      5403 S. LaGrange Road
                      Countryside, IL 60525


                      Illinois Department of Revenue
                      Bankruptcy Unit
                      PO Box 19035
                      Springfield, IL 62794-9035


                      Indian American Water
                      650 Madison Street
                      Gary, IN 46402


                      Internal Revenue Service
                      Centralized Insolvency Operation
                      PO Box 7346
                      Philadelphia, PA 19101-7346


                      Jordan and Morgan Estates
                      c/o Carlson Dash
                      216 S. Jefferson Street, Suite 504
                      Chicago, IL 60661


                      Jordan and Morgan Estates
                      c/o Carlson Dash
                      200 S. Wacker Drive
                      Chicago, IL 60606


                      Jordan and Morgan Estates
                      c/o Jason Huff
                      826 Old Mountain Rd NW
                      Kennesaw, GA 30152


                      Nipsco
                      1261 Dakota Street
                      Gary, IN 46403
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                  Pinnacle Asset Management, LLC
                  9501 W. 144th Place
                  Suite 304
                  Orland Park, IL 60462


                  Portgage Utility Services
                   6070 Central Avenue
                  Portage, IN 46368


                  Sage Workinger
                  c/o Carlson Dash
                  216 S. Jefferson Street, Suite 504
                  Chicago, IL 60661


                  Sage Workinger
                  c/o Carlson Dash
                  200 S. Wacker Drive
                  Chicago, IL 60606


                  Toorak Capital Partners
                  15 Maple Street
                  Summit, NJ 07901


                  Toorak Capital Partners
                  c/o Hammerschmidt, Amaral & Jonas
                  137 N. Michigan Street
                  South Bend, IN 46601


                  Triumph Capital Partners LLC
                  155 S. Highway 101
                  Suite 7
                  Solana Beach, CA 92075


                  Warburg Equities LLC
                  6101Canden Avenue
                  Portage, IN 46368
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                                                                     Northern District of Illinois
 In re      Town & Country Partners LLC                                                                  Case No.
                                                                                 Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Town & Country Partners LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 July 13, 2021                                                       /s/ J. Kevin Benjamin ARDC #:
 Date                                                                J. Kevin Benjamin ARDC #: 6202321
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Town & Country Partners LLC
                                                                     Benjamin Legal Services PLC
                                                                     1016 W. Jackson Blvd.
                                                                     Chicago, IL 60607-2914
                                                                     (312) 853-3100 Fax:(312) 577-1707
                                                                     attorneys@benjaminlaw.com




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                                      STATEMENT OF INFORMATION REQUIRED BY 11 U.S.C. §341

INTRODUCTION
Pursuant to the Bankruptcy Reform Act of 1994, the Office of the United States Trustee, United States Department of Justice, has prepared this information sheet to help
you understand some of the possible consequences of filing a bankruptcy petition under chapter 7 of the Bankruptcy Code. This information is intended to make you
aware of...

(1)         the potential consequences of seeking a discharge in bankruptcy, including the effects on credit history;
(2)         the effect of receiving a discharge of debts
(3)         the effect of reaffirming a debt; and
(4)         your ability to file a petition under a different chapter of the Bankruptcy Code.

There are many other provisions of the Bankruptcy Code that may affect your situation. This information sheet contains only general principles of law and is not a
substitute for legal advice. If you have questions or need further information as to how the bankruptcy laws apply to your specific case, you should consult with your
lawyer.

WHAT IS A DISCHARGE?
The filing of a chapter 7 petition is designed to result in a discharge of most of the debts you listed on your bankruptcy schedules. A discharge is a court order that says
you do not have to repay your debts, but there are a number of exceptions. Debts which may not be discharged in your chapter 7 case include, for example, most taxes,
child support, alimony, and student loans; court-ordered fines and restitution; debts obtained through fraud or deception; and personal injury debts caused by driving
while intoxicated or taking drugs. Your discharge may be denied entirely if you, for example, destroy or conceal property; destroy, conceal or falsify records; or make a
false oath. Creditors cannot ask you to pay any debts which have been discharged. You can only receive a chapter 7 discharge once every eight (8) years.

WHAT ARE THE POTENTIAL EFFECTS OF A DISCHARGE?
The fact that you filed bankruptcy can appear on your credit report for as long as 10 years. Thus, filing a bankruptcy petition may affect your ability to obtain credit in
the future. Also, you may not be excused from repaying any debts that were not listed on your bankruptcy schedules or that you incurred after you filed for bankruptcy.

WHAT ARE THE EFFECTS OF REAFFIRMING A DEBT?
After you file your petition, a creditor may ask you to reaffirm a certain debt or you may seek to do so on your own. Reaffirming a debt means that you sign and file
with the court a legally enforceable document, which states that you promise to repay all or a portion of the debt that may otherwise have been discharged in your
bankruptcy case. Reaffirmation agreements must generally be filed with the court within 60 days after the first meeting of the creditors.

Reaffirmation agreements are strictly voluntary — they are not required by the Bankruptcy Code or other state or federal law. You can voluntarily repay any debt
instead of signing a reaffirmation agreement, but there may be valid reasons for wanting to reaffirm a particular debt.

Reaffirmation agreements must not impose an undue burden on you or your dependents and must be in your best interest. If you decide to sign a reaffirmation
agreement, you may cancel it at any time before the court issues your discharge order or within sixty (60) days after the reaffirmation agreement was filed with the
court, whichever is later. If you reaffirm a debt and fail to make the payments required in the reaffirmation agreement, the creditor can take action against you to
recover any property that was given as security for the loan and you may remain personally liable for any remaining debt.

OTHER BANKRUPTCY OPTIONS
You have a choice in deciding what chapter of the Bankruptcy Code will best suit your needs. Even if you have already filed for relief under chapter 7, you may be
eligible to convert your case to a different chapter.

Chapter 7 is the liquidation chapter of the Bankruptcy Code. Under chapter 7, a trustee is appointed to collect and sell, if economically feasible, all property you own
that is not exempt from these actions.

Chapter 11 is the reorganization chapter most commonly used by businesses, but it is also available to individuals. Creditors vote on whether to accept or reject a plan,
which also must be approved by the court. While the debtor normally remains in control of the assets, the court can order the appointment of a trustee to take possession
and control of the business.

Chapter 12 offers bankruptcy relief to those who qualify as family farmers. Family farmers must propose a plan to repay their creditors over a three-to-five year period
and it must be approved by the court. Plan payments are made through a chapter 12 trustee, who also monitors the debtor’s farming operations during the pendency of
the plan.

Finally, chapter 13 generally permits individuals to keep their property by repaying creditors out of their future income. Each chapter 13 debtor writes a plan which
must be approved by the bankruptcy court. The debtor must pay the chapter 13 trustee the amounts set forth in their plan. Debtors receive a discharge after they
complete their chapter 13 repayment plan. Chapter 13 is only available to individuals with regular income whose debts do not exceed $1,677,125 ($419,275 in
unsecured debts and $1,257,850 in secured debts).

AGAIN, PLEASE SPEAK TO YOUR LAWYER IF YOU NEED FURTHER INFORMATION OR EXPLANATION,
INCLUDING HOW THE BANKRUPTCY LAWS RELATE TO YOUR SPECIFIC CASE.

 Date July 13, 2021                                                   Signature      /s/ Antonio Barnes
                                                                                     Antonio Barnes
                                                                                     Mgr. Warburg Equities who is Manger of Town &
                                                                                     Country Partne




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                                                     11 U.S.C. § 527(a)(2) Disclosure

In accordance with section 527(a)(2) of the Bankruptcy Code, be advised that:

1. All information that you are required to provide with a bankruptcy petition and during a
   bankruptcy case must be complete, accurate, and truthful.

2. All assets and liabilities must be completely and accurately disclosed, with the replacement
   value of each asset as defined in section 506 listed after reasonable inquiry to establish such
   value.

3. Current monthly income, the amounts specified in the “means test” under section 707(b)(2),
   and disposable income in chapter 13 cases must be stated after reasonable inquiry.

4. Information that you provide during your bankruptcy case may be audited, and the failure to
   provide such information may result in dismissal of the case or other sanction, including a
   criminal sanction.




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               IMPORTANT INFORMATION ABOUT BANKRUPTCY ASSISTANCE
                SERVICES FROM AN ATTORNEY OR BANKRUPTCY PETITION
                                    PREPARER.

If you decide to seek bankruptcy relief, you can represent yourself, you can hire an attorney to
represent you, or you can get help in some localities from a bankruptcy petition preparer who is
not an attorney. THE LAW REQUIRES AN ATTORNEY OR BANKRUPTCY PETITION
PREPARER TO GIVE YOU A WRITTEN CONTRACT SPECIFYING WHAT THE
ATTORNEY OR BANKRUPTCY PETITION PREPARER WILL DO FOR YOU AND HOW
MUCH IT WILL COST. Ask to see the contract before you hire anyone.

The following information helps you understand what must be done in a routine bankruptcy case
to help you evaluate how much service you need. Although bankruptcy can be complex, many
cases are routine.

Before filing a bankruptcy case, either you or your attorney should analyze your eligibility for
different forms of debt relief available under the Bankruptcy Code and which form of relief is
most likely to be beneficial for you. Be sure you understand the relief you can obtain and its
limitations. To file a bankruptcy case, documents called a Petition, Schedules, and Statement of
Financial Affairs, and in some cases a Statement of Intention, need to be prepared correctly and
filed with the bankruptcy court. You will have to pay a filing fee to the bankruptcy court. Once
your case starts, you will have to attend the required first meeting of the creditors where you may
be questioned by a court official called a 'trustee' and by creditors.

If you choose to file a chapter 7 case, you may be asked by a creditor to reaffirm a debt. You
may want help deciding whether to do so. A creditor is not permitted to coerce you into
reaffirming your debts.

If you choose to file a chapter 13 case in which you repay your creditors what you can afford
over 3 to 5 years, you may also want help with preparing your chapter 13 plan and with the
confirmation hearing on your plan which will be before a bankruptcy judge.

If you select another type of relief under the Bankruptcy Code other than chapter 7 or chapter 13,
you will want to find out what should be done from someone familiar with that type of relief.

Your bankruptcy case may also involve litigation. You are generally permitted to represent
yourself in litigation in bankruptcy court, but only attorneys, not bankruptcy petition preparers,
can give you legal advice.




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        B2000 (Form 2000) (12/20)
                                            REQUIRED LISTS, SCHEDULES, STATEMENTS AND FEES
                                                                                 Voluntary Chapter 11 Case

                     Filing fee of $1,167. If the fee is to be paid in installments, the debtor must be an individual and must file a signed application for court approval. Official
                     Form 103A and Fed.R.Bankr.P. 1006(b).

                     Administrative fee of $571. If the debtor is an individual and the court grants the debtor's request, this fee is payable in installments.

                     United States Trustee quarterly fee. The debtor, or trustee if one is appointed, is required also to pay a fee to the United States trustee at the conclusion of
                     each calendar quarter until the case is dismissed or converted to another chapter. The calculation of the amount to be paid is set out in 28 U.S.C. 1930(a)(6).
                     As authorized by 28 U.S.C. § 1930(a)(7), the quarterly fee is paid to the clerk of court in chapter 11 cases in Alabama and North Carolina.

                     Voluntary Petition For Individuals Filing For Bankruptcy (Official Form 101) or Voluntary Petition for Non-Individuals Filing For Bankruptcy
                     (Official Form 201) ; Names and addresses of all creditors of the debtor. Must be filed WITH the petition. Fed.R.Bankr.P. 1007(a)(1).

                     Notice to Individual Debtor with Primarily Consumer Debts under 11 U.S.C. § 342(b) (Director's Form 2010), if applicable. Required if the debtor is an
                     individual with primarily consumer debts. The notice must be GIVEN to the debtor before the petition is filed. Certification that the notice has been given
                     must be FILED with the petition or within 15 days. 11 U.S.C. §§ 342(b), 521(a)(1)(B)(iii), 1112(e). Official Form 101 contains spaces for the certification.

                     Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119). Required if a "bankruptcy petition preparer" prepares the
                     petition. Must be submitted WITH the petition. 11 U.S.C. § 110(b)(2).

                     Statement About Your Social Security Number (Official Form 121). Required if the debtor is an individual. Must be submitted WITH the petition.
                     Fed.R.Bankr.P. 1007(f).

                     Credit Counseling Requirement (Official Form 101); Certificate of Credit Counseling and Debt Repayment Plan, if applicable;.Section 109(h)(3)
                     certification or § 109(h)(4) request, if applicable. If applicable, the Certificate of Credit Counseling and Debt Repayment Plan must be filed with the
                     petition or within 14 days. If applicable, the § 109(h)(3) certification or the § 109(h)(4) request must be filed WITH the petition. Fed.R.Bankr.P.
                     1007(b)(3), (c).

                     Statement disclosing compensation paid or to be paid to a "bankruptcy petition preparer" (Director's Form 2800). Required if a "bankruptcy petition
                     preparer" prepares the petition. Must be submitted WITH the petition. 11 U.S.C. §110(h)(2).

                     Statement of Your Current Monthly Income (Official Form 122B). Required if the debtor is an individual unless the case is filed under subchapter V.
                     Must be filed with the petition or within 14 days. Fed.R.Bankr.P. 1007(b), (c).

                     For Individual Chapter 11 Cases: List of Creditors Who Have The 20 Largest Unsecured Claims Against You And Are Not Insiders (Official Form
                     104). Or Chapter 11 Or Chapter 9 Cases: List of Creditors Who Have The 20 Largest Unsecured Claims And Are Not Insiders (Official Form
                     204). Must be filed WITH the petition. Fed.R.Bankr.P. 1007(d).

                     Names and addresses of equity security holders of the debtor. Must be filed with the petition or within 14 days, unless the court orders otherwise.
                     Fed.R.Bankr.P. 1007(a)(3).

                     Schedules of Assets and Liabilities (Official Form 106 or 206). Must be filed with the petition or within 14 days. Fed.R.Bankr.P. 1007(b), (c).

                     Schedule of Executory Contracts and Unexpired Leases (Schedule G of Official Form 106 or 206). Must be filed with the petition or within 14 days.
                     Fed.R.Bankr.P. 1007(b), (c).

                     Schedules of Current Income and Expenditures. If the debtor is an individual, Schedules I and J of Official Form 106 must be used for this purpose.
                     Must be filed with the petition or within 14 days. 11 U.S.C. § 521(1) and Fed.R.Bankr.P. 1007(b), (c).

                     Statement of Financial Affairs (Official Form 107 or 207). Must be filed with the petition or within 14 days. Fed.R.Bankr.P. 1007(b), (c).

                     Copies of all payment advices or other evidence of payment received by the debtor from any employer within 60 days before the filing of the petition.
                     Required if the debtor is an individual. Must be filed WITH the petition or within 14 days. Fed.R.Bankr.P. 1007(b), (c).

                     Statement disclosing compensation paid or to be paid to the attorney for the debtor (Director's Form 2030), if applicable. Required if the debtor is
                     represented by an attorney. Must be filed within 14 days or any other date set by the court. 11 U.S.C. § 329 and Fed.R.Bankr.P. 2016(b).

                     Certification About a Financial Management Course (Official Form 423), if applicable. Required if the debtor is an individual and §1141(d)(3) applies,
                     unless the course provider has notified the court that the debtor has completed the course. Must be filed no later than the date of the last payment under the
                     plan or the filing of a motion for a discharge under §1141(d)(5)(B). 11 U.S.C. §1141(d)(3) and Fed.R.Bankr.P. 1007(b)(7), (c).

                     Statement concerning pending proceedings of the kind described in §522(q)(1), if applicable. Required if the debtor is an individual and has claimed
                     exemptions under state or local law as described in §522(b)(3) in excess of $170,350.* Must be filed no later than the date of the last payment made under
                     the plan or the date of the filing of a motion for a discharge under §1141(d)(5)(B). 11 U.S.C.§1141(d)(5)(C) and Fed.R.Bankr.P. 1007(b)(8), (c).


*
    Amount subject to adjustment on 4/01/22 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                                                               United States Bankruptcy Court
                                                                      Northern District of Illinois
 In re      Town & Country Partners LLC                                                                      Case No.
                                                                                  Debtor(s)                  Chapter    11




                                                                     DESIGNATION OF AGENT

            I hereby designate my attorney, whose signature, name, address, Bar No., telephone and fax
            numbers are set forth below, as my agent to receive service of process and service of all
            pleadings in all proceedings, including adversary actions and contested matters, pursuant to
            Bankruptcy Rule 7004(b)(8), in this Court arising in this case. This designation shall expire the
            60th day after the latest of the following dates which may be applicable in this case: entry of
            Discharge of Debtor, the last date permitted for filing complaints objecting to discharge under 11
            U.S.C. § 727 or dischargeability of debts under 11 U.S.C. § 523, or the date an order of
            confirmation of a Chapter 11 or Chapter 12 plan is entered.


             July 13, 2021                                                   /s/ Antonio Barnes
             Date                                                            Debtor/Title:
                                                                             Antonio Barnes/Mgr. Warburg Equities who is
                                                                             Manger of Town & Country Partne




             Date                                                            Co-Debtor:



                                                                             /s/ J. Kevin Benjamin ARDC #:
                                                                             Attorney Signature
                                                                             (Type Attorney Name, Address, Phone and
                                                                             Bar Number Below)
                                                                             J. Kevin Benjamin ARDC #: 6202321
                                                                             Benjamin Legal Services PLC
                                                                             1016 W. Jackson Blvd.
                                                                             Chicago, IL 60607-2914
                                                                             (312) 853-3100 Fax: (312) 577-1707
                                                                             attorneys@benjaminlaw.com
                                                                             Bar Number: ARDC #: 6202321 IL




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